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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

JOHN A. KNOX individually, and on behalf of all )
others similarly situated,                      )
                                                )
                              Plaintiff,        )
                                                )
                           v.                   )         No. 1:21-cv-00885-SEB-MJD
                                                )
GLA COLLECTION COMPANY, INC.,                   )
                                                )
                              Defendant.        )


                         The Honorable Sarah Evans Barker, Judge
                              Entry for September 30, 2021

       This cause is hereby ASSIGNED for final pretrial conference on Tuesday, June 13, 2023

at 2:00 p.m. in Room 216 of the United States Courthouse in Indianapolis, Indiana and for jury

trial on Monday, June 26, 2023 at 9:30 a.m. in Room 216 of the United States Courthouse in

Indianapolis, Indiana.




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